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                                                                                       JS-6

 1                                           UNITED STATES DISTRICT COURT
 2                                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 3
     VALLEY NATIONAL BANK,
 4                                                              Case No. 5:21-cv-1221 FWS (SPx)
 5                                                              DEFAULT JUDGMENT BY CLERK
                       Plaintiff,
 6
                                 v.
 7
     WOLFPACK TRANSPORT LLC,
 8

 9
                       Defendants.
10

11
                This action having come before the Court on Plaintiff’s Application to Enter Judgment by
12
     Default and the Application having been decided as follows:
13
     IT IS ORDERED AND ADJUDGED
14

15
                       THAT JUDGMENT IS HEREBY ENTERED IN FAVOR OF
16                     PLAINTIFF VALLEY NATIONAL BANK AGAINST DEFENDANT
                       WOLFPACK TRANSPORT LLC FOR $272,952.98, WITH
17                     INTEREST TO ACCRUE ON THE JUDGMENT AT THE
                       STATUTORY RATE FROM DATE OF ENTRY UNTIL PAID IN
18                     FULL.
19
                       THIS AMOUNT REPRESENTS THE UNPAID PRINCIPAL OF
20                     $218,307.10 AND INTEREST OF $54,645.88 CALCULATED AT THE
                       ANNUAL PERCENTAGE RATE SET FORTH IN THE PREMIUM
21                     FINANCE AGREEMENT BETWEEN THE PARTIES OF 11.25%
                       FOR THE PERIOD JUNE 16, 2020 TO JUNE 1, 2022.
22

23
                                                                Kiry Gray
24
                                                                CLERK OF THE COURT
25

26   ENTERED: July 8, 2022                                        /s/ Jenny Lam
                                                                ______________________________
                                                              By: Deputy Clerk
27

28   H:\WOLFPACK TRANSPORT LLC\Judgment in                                                5:21-cv-1221
     Civil Case.docx
                                               JUDGMENT IN A CIVIL CASE
